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                                No. 23-12155


     IN THE UNITED STATES DISTRICT COURT OF APPEALS
                FOR THE ELEVENTH CIRCUIT


                         AUGUST DEKKER, et al.,
                           Plaintiffs-Appellees,

                                     v.

        SECRETARY, FLORIDA AGENCY FOR HEALTH CARE
                   ADMINISTRATION, et al.,
                     Defendants-Appellants.


          On Appeal from the United States District Court for the
                       Northern District of Florida
                   Case No: 4:22-cv-00325-RH-MA


UNOPPOSED MOTION OF AMICI CURIAE HUSSEIN ABDUL-LATIF,
REBECCA KAMODY, LAURA KUPER, MEREDITHE MCNAMARA,
NATHALIE SZILAGYI, AND ANNE ALSTOTT FOR LEAVE TO FILE
  BRIEF AS AMICI CURIAE IN SUPPORT OF AFFIRMING THE
               DISTRICT COURT’S ORDER


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        CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                     DISCLOSURE STATEMENT
        Pursuant to Federal Rule of Appellate Procedure 26.1 and Local Rule 26.1–1,

the undersigned counsel for amici curiae Hussein Abdul-Latif, Rebecca Kamody,

Laura Kuper, Meredithe McNamara, Nathalie Szilagyi, and Anne Alstott certify

that:

        •     None of the above-referenced individuals is a corporate entity or has

              issued stock.

        •     The following persons and parties, in addition to the above-named

              amici, may have an interest in the outcome of this case:

              1.    Academic Pediatric Association – Amicus

              2.    Alsott, Anne – Amicus

              3.    Altman, Jennifer – Counsel for Plaintiffs

              4.    American Academy of Child and Adolescent Psychiatry –

                    Amicus

              5.    American Academy of Family Physicians – Amicus

              6.    American Academy of Nursing – Amicus

              7.    American Academy of Pediatrics – Amicus

              8.    American College of Obstetricians and Gynecologists – Amicus

              9.    American College of Osteopathic Pediatricians – Amicus

              10.   American College of Pediatricians – Amicus
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          11.   American College of Physicians – Amicus

          12.   American Medical Association – Amicus

          13.   American Pediatric Society – Amicus

          14.   American Psychiatric Association – Amicus

          15.   Andersen, Alison – Counsel for Amicus

          16.   Anderson, Barrett – Counsel for Amicus

          17.   Antommaria, Armand – Witness

          18.   Association of American Medical Colleges – Amicus

          19.   Bailey, Andrew – Counsel for Amicus

          20.   Baker, Kellan – Witness

          21.   Bardos, Andy – Counsel for Amicus

          22.   Barnes, Brian – Counsel for Amicus

          23.   Beato, Michael – Counsel for Defendants

          24.   Biggs, Michael – Defendant Witness

          25.   Blickenstaff, David – Counsel for Amicus

          26.   Biomedical Ethics and Public Health Scholars –Amicus

          27.   Bird, Brenna – Counsel for Amicus

          28.   Boergers, Kathleen – Counsel for Amicus

          29.   Boulware, Susan –Amicus

          30.   Bowdre, Alexander Barrett – Counsel for Amicus

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          31.   Brackett, John Matthew – Witness

          32.   Bronni, Nicholas J. – Counsel for Amicus

          33.   Brown, Louis, Jr. –Amicus

          34.   Burleigh, Clifton Francis, Jr. – Amicus

          35.   Cameron, Daniel – Counsel for Amicus

          36.   Cantor, James – Witness

          37.   Carr, Chris – Counsel for Amicus

          38.   Charles, Carl – Counsel for Plaintiffs

          39.   Chriss, Simone – Counsel for Plaintiffs

          40.   Chuang, Ming – Counsel for Amicus

          41.   Clark, Kaila – Counsel for Amicus

          42.   Commonwealth of Kentucky – Amicus

          43.   Commonwealth of Massachusetts – Amicus

          44.   Commonwealth of Virginia – Amicus

          45.   Cory, Alyssa L. – Counsel for Amicus

          46.   Coursolle, Abigail – Counsel for Plaintiffs

          47.   Dalton, Ann – Witness

          48.   DeBriere, Katherine – Counsel for Plaintiffs

          49.   Dekker, August – Plaintiff




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          50.   Ding, Michael – Counsel for Plaintiff/Third-Party Miriam

                Grossman

          51.   District of Columbia – Amicus

          52.   Do No Harm – Amicus

          53.   Doe, Jane – Plaintiff

          54.   Doe, John – Plaintiff

          55.   Doe, Susan – Plaintiff

          56.   Donovan, Kevin – Witness

          57.   Dunn, Chelsea – Counsel for Plaintiffs

          58.   Edmiston, E. Kale –Witness

          59.   Endocrine Society – Amicus

          60.   English, Jeffrey – Witness

          61.   Ethics and Public Policy Center – Amicus

          62.   Figlio, Erik – Counsel for Amicus

          63.   Fitch, Lynn – Counsel for Amicus

          64.   Florida Agency for Healthcare Administration – Defendant

          65.   Florida Chapter of the American Academy of Pediatrics –

                Amicus

          66.   Florida Policy Institute – Amicus

          67.   Florida Voices for Health – Amicus

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          68.   Gibson, Benjamin J. – Counsel for Amicus

          69.   Gonzalez-Pagan, Omar – Counsel for Plaintiffs

          70.   Griffin, Steven J. – Counsel for Amicus

          71.   Griffin, Tim – Counsel for Amicus

          72.   Grossman, Miriam – Witness/Third-Party Discovery Producer

          73.   Halley, Ted – Amicus

          74.   Hartnett, Kathleen – Counsel for Amicus

          75.   Hasson, Mary Rice – Counsel for Amicus

          76.   Helstrom, Zoe – Counsel for Amicus

          77.   Heyer, Walt – Amicus

          78.   Hilgers, Michael T. – Counsel for Amicus

          79.   Hinkle, Robert – U.S. District Court Judge

          80.   Hruz, Paul William – Witness

          81.   Hussein, Abdul-Latif – Amicus

          82.   Hutton, Kim – Witness

          83.   Isasi, William – Counsel for Amicus

          84.   Jacobs, Dylan L. – Counsel for Amicus

          85.   Janssen, Aron Christopher – Witness

          86.   Jazil, Mohammad – Counsel for Defendants

          87.   K.F. – Plaintiff

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          88.   Kaliebe, Kristopher Edward – Witness

          89.   Kamody, Rebecca – Amicus

          90.   Kang, Katelyn – Counsel for Amicus

          91.   Karasic, Dan – Witness

          92.   Kiefel, Camille – Witness

          93.   Kline, Robert – Counsel for Amicus

          94.   Kniffin, Eric Nieuwenhuis – Counsel for Amicus

          95.   Knudsen, Austin – Counsel for Amicus

          96.   Kobach, Kris W. – Counsel for Amicus

          97.   Krasovec, Joseph – Former Counsel for Amicus

          98.   Kuper, Laura – Amicus

          99.   Labrador, Raúl R. – Counsel for Amicus

          100. LaCour, Edmund G. Jr. – Counsel for Amicus

          101. Lannin, Cortlin – Counsel for Amicus

          102. Laidlaw, Michael – Witness

          103. Lannin, Cortlin – Counsel for Amicus

          104. Lappert, Patrick – Witness

          105. Ladue, Jade – Plaintiff

          106. Levine, Stephen – Witness

          107. Little, Joseph – Counsel for Plaintiffs

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          108. Loewy, Karen L. – Counsel for Plaintiffs

          109. Marshall, Steve – Counsel for Amicus

          110. Marstiller, Simone – Former Defendant

          111. Mauler, Daniel – Counsel for Amicus

          112. McCotter, R. Trent – Counsel for Amicus

          113. McKee, Catherine – Counsel for Plaintiffs

          114. McNamara, Meredithe – Amicus

          115. Meszaros, Marie Connelly – Amicus

          116. Miller, William – Counsel for Plaintiffs

          117. Miyares, Jason – Counsel for Amicus

          118. Mondry, Emily – Counsel for Amicus

          119. Morrisey, Patrick – Counsel for Amicus

          120. Morrison, Rachel N. – Amicus

          121. Nangia, Geeta – Witness

          122. National Association of Pediatric Nurse Practitioners – Amicus

          123. Nordby, Daniel E. – Counsel for Plaintiff/Third-Party Miriam

                Grossman and Counsel for Amicus

          124. Norohna, Maya – Amicus

          125. Olezeski, Christy – Former Amicus

          126. Olson-Kennedy, Johanna – Witness

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          127. Paxton, Ken – Counsel for Amicus

          128. Pediatric Endocrine Society – Amicus

          129. Perko, Gary – Counsel for Defendants

          130. Polston, Ricky L. – Counsel for Amicus

          131. Pratt, Christine – Amicus

          132. Pratt, Joshua E. – Counsel for Defendants

          133. Ramer, John – Counsel for Amicus

          134. Reinhardt, Elizabeth – Counsel for Amicus

          135. Reyes, Sean – Counsel for Amicus

          136. Richards, Jay W. – Amicus

          137. Rivaux, Shani – Counsel for Plaintiffs

          138. Rokita, Theodore E. – Counsel for Amicus

          139. Rothstein, Brit – Plaintiff

          140. Schechter, Loren – Witness

          141. Scott, Sophie – Witness

          142. Severino, Roger – Amicus

          143. Shaw, Gary – Counsel for Plaintiffs

          144. Sheeran, Andrew – General Counsel for Defendant AHCA

          145. Shumer, Daniel – Witness

          146. Skrmetti, Jonathan – Counsel for Amicus

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          147. Societies for Pediatric Urology – Amicus

          148. Society for Adolescent Health and Medicine – Amicus

          149. Society for Pediatric Research – Amicus

          150. Society of Pediatric Nurses – Amicus

          151. State of Alabama – Amicus

          152. State of Arkansas – Amicus

          153. State of California – Amicus

          154. State of Delaware – Amicus

          155. State of Georgia – Amicus

          156. State of Idaho – Amicus

          157. State of Illinois – Amicus

          158. State of Indiana – Amicus

          159. State of Iowa – Amicus

          160. State of Kansas – Amicus

          161. State of Louisiana – Amicus

          162. State of Maryland – Amicus

          163. State of Mississippi – Amicus

          164. State of Missouri – Amicus

          165. State of Montana – Amicus

          166. State of Nebraska – Amicus

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          167. State of New York – Amicus

          168. State of North Dakota – Amicus

          169. State of Oregon – Amicus

          170. State of Rhode Island – Amicus

          171. State of South Carolina – Amicus

          172. State of Tennessee – Amicus

          173. State of Texas – Amicus

          174. State of Utah – Amicus

          175. State of West Virginia – Amicus

          176. Szilagyi, Nathalie – Amicus

          177. Thompson, David – Counsel for Amicus

          178. Veroff, Julie – Counsel for Amicus

          179. Veta, D. Jean – Counsel for Amicus

          180. Van Meter, Quentin – Witness

          181. Van Mol, Andre – Witness

          182. Weida, Jason – Defendant

          183. Wilson, Alan – Counsel for Amicus

          184. World Professional Association for Transgender Health –

                Amicus

          185. Zanga, Joseph – Witness

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      Amici curiae hereby respectfully move this Honorable Court for leave to file

the attached brief of amici curiae. In support of this motion, amici curiae state as

follows:

      1.     Amici curiae are Hussein Abdul-Latif, Rebecca Kamody, Laura Kuper,

Meredithe McNamara, Nathalie Szilagyi, and Anne Alstott (collectively, “amici”).

      2.      Amici respectfully move for leave to file their amicus brief in support

of the district court’s decision that the State of Florida’s statute and rule prohibiting

Medicaid payment for treatment of gender dysphoria violates the federal Medicaid

statute, the Equal Protection Clause, and the Affordable Care Act’s prohibition of

sex discrimination. See Florida Statutes § 286.31(2) (2023) and Florida

Administrative Code Rule 59G-1.050(7). Amici have met and conferred with the

parties in good faith as required by the Local Rules, and both Plaintiffs and

Defendants have indicated that they do not object to the filing of amici’s brief.

      3.      The amici submitting this brief are a well-respected group of two

Ph.D. child and adolescent psychologists, an M.D. child and adolescent

psychiatrist, two M.D. physicians with specialties in pediatric endocrinology and

adolescent medicine, and a law professor holding a tenured position at Yale Law

School. All five scientists are also clinicians who treat transgender patients daily.

Collectively, amici have over 40 years of clinical practice and have treated

thousands of transgender individuals. All amici share an interest in the integrity of


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medicine and science, and all are concerned that Florida’s newly adopted statute

and rule set a harmful, national precedent for denying standard medical care to

transgender people who suffer from gender dysphoria.1 Amici seek to offer this

Court their professional insights regarding the life-saving benefits of gender-

affirming care and the consequences that result from the denial of Medicaid

benefits for such care, as would be required by Florida Statutes § 286.31(2) (2023)

and Florida Administrative Code Rule 59G-1.050(7) (collectively, the “Florida

Medicaid Bans”). Amici’s brief demonstrates that the Florida Medicaid Bans strip

patients of long-established, effective, and evidence-based medical care. Amici

have a strong interest in ensuring that this Court has sound scientific information

at hand regarding the medical treatment of gender dysphoria, and their perspective

will aid the Court in its consideration of the case.

       WHEREFORE, amici respectfully request that the Court grant them leave to

file their brief of amici curiae.




       1
        Gender dysphoria is “the distress that may accompany the incongruence
between one’s experienced or expressed gender and one’s assigned gender.” Keohane
v. Fla. Dep’t of Corr. Sec’y, 952 F.3d 1257, 1262 (11th Cir. 2020), cert. denied sub
nom. Keohane v. Inch, 142 S. Ct. 81 (2021) (quoting Am. Psych. Ass’n, Diagnostic
and Statistical Manual of Mental Disorders 451 (5th ed. 2013)).

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            MEMORANDUM OF LAW IN SUPPORT OF MOTION

      Amici seek to assist this Court in an area that is within their core expertise.

Consistent with their clinical training and experience, amici focus on medical and

psychological care for gender dysphoria. Amici’s proposed brief provides this Court

with insight into the safety and effectiveness of gender-affirming care and

demonstrates that the Florida Medicaid Bans lack scientific justification.

      Federal courts have broad discretion to allow participation as amicus curiae.

See, e.g., New Mexico Oncology & Hematology Consultants, Ltd. v. Presbyterian

Healthcare Servs., 994 F.3d 1166, 1175 (10th Cir. 2021); Richardson v. Flores, 979

F.3d 1102, 1106 (5th Cir. 2020). Indeed, federal courts “possess the inherent

authority to appoint ‘friends of the court’ to assist in their proceedings.” Bayshore

Ford Trucks Sales, Inc. v. Ford Motor Co. (In re Ford Motor Co.), 471 F.3d 1233,

1249 n.34 (11th Cir. 2006). “The purpose of an amicus brief is to serve the court, so

its acceptance is within the discretion of a court based on its view of the brief’s utility

in helping to resolve the issues before it.” Straw v. Utah, No. 23-4036, 2023 WL

4197651, at *5 (10th Cir. June 27, 2023). In exercising their discretion, courts may

consider whether the brief would aid their understanding of the issues, as well as the

interests of those who are not represented in the litigation. Indeed, “[c]ourts have

recognized that permitting friends of the court may be advisable where the third

parties can contribute to the court’s understanding of the matter in question.”



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Conservancy of Sw. Fla. v. United States Fish & Wildlife Serv., 2010 U.S. Dist.

LEXIS 94003 at *3 (M.D. Fla. Sept. 9, 2010). Particularly relevant for courts

considering whether to accept amicus curiae submissions is whether “the amicus has

a special interest.” News & Sun-Sentinel Co. v. Cox, 700 F. Supp. 30, 32 (S.D. Fla.

1988). As commentators have stressed, amici are often in a superior position to focus

the court’s attention on the broad implications of various possible rulings. R. Stern,

E. Greggman & S. Shapiro, Supreme Court Practice, 570-71 (1986) (quoting Ennis,

Effective Amicus Briefs, 33 CATH. U. L. REV. 603, 608 (1984)); see also Miller-

Wohl Co., Inc. v. Comm’r of Labor & Indus., 694 F.2d 203, 204 (9th Cir. 1982)

(“[A]mici fulfill[] the classic role of amicus curiae by assisting in a case of general

public interest, supplementing the efforts of counsel, and drawing the court’s

attention to law that escaped consideration.”).

      That is precisely the assistance amici offer the Court here. Their perspectives

as clinicians are unique. Amici have seen firsthand the importance of patients having

access to gender-affirming care. Transgender individuals, as well as the parents and

guardians of transgender minors, regularly seek the advice of amici, in a professional

capacity, and amici offer advice concerning the proper course of treatment upon a

diagnosis of gender dysphoria, in accordance with well-established standards of

care. Amici have a special interest in the outcome of this litigation because the

disposition will have a direct impact on the health outcomes for Florida patients,


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specifically doctor-patient decision-making as it relates to gender-affirming medical

care. For these reasons, federal courts have permitted amici to file briefs in matters

concerning similar laws targeting gender-affirming care. See, e.g., Eknes-Tucker v.

Marshall, 2022 WL 1521889, at *2 (M.D. Ala. May 13, 2022) and Dekker et al v.

Weida et al, 4:22CV00325 (N.D. Fla. Apr. 25, 2023) (allowing this group of amici,

among others, to file briefs).

      Because amici have special expertise that can aid the Court and the parties in

resolving this case of great public interest, the Court should grant amici’s unopposed

motion for leave to file their amicus brief.




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                                  CONCLUSION

      For the foregoing reasons, amici respectfully request that this Court grant their

motion for leave to file their proposed amicus curiae brief in support of the district

court’s decision that the Medicaid Bans violate the Fourteenth Amendment’s Equal

Protection Clause and the Affordable Care Act.



                                              Respectfully submitted,

                                              Hussein Abdul-Latif, Rebecca
                                              Kamody, Laura Kuper, Meredithe
                                              McNamara, Nathalie Szilagyi, and
                                              Anne Alstott


                                              By and through their counsel,

                                              ARENTFOX SCHIFF LLP


                                              /s/ David C. Blickenstaff
                                              David C. Blickenstaff
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                                              Washington, DC 20006
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                                              Counsel for Amici Curiae


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                         CERTIFICATE OF SERVICE

      I hereby certify that, on December 1, 2023, this notice was filed through the

Court’s CM/ECF system, which will send a notice of electronic filing to all counsel

of record.

                                            /s/ David C. Blickenstaff
                                            David C. Blickenstaff




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